Case 8:21-bk-11710-ES       Doc 206 Filed 08/30/22 Entered 08/30/22 13:30:52             Desc
                             Main Document     Page 1 of 2


   D. EDWARD HAYS, #162507
 1 ehays@marshackhays.com
   LAILA MASUD, #311731
 2 lmasud@marshackhays.com                                FILED & ENTERED
   BRADFORD N. BARNHARDT, #328705
 3 bbarnhardt@marshackhays.com
   MARSHACK HAYS LLP                                              AUG 30 2022
 4 870 Roosevelt
   Irvine, CA 92620
 5 Telephone: (949) 333-7777                               CLERK U.S. BANKRUPTCY COURT
                                                           Central District of California
   Facsimile: (949) 333-7778                               BY jle        DEPUTY CLERK
 6
   Attorneys for Movant and Creditor,
 7 HOUSER BROS. CO. dba RANCHO DEL
   REY MOBILE HOME ESTATES
 8
                             UNITED STATES BANKRUPTCY COURT
 9
                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
10
     In re                                    Case No. 8:21-bk-11710-ES
11
     JAMIE LYNN GALLIAN,                      Chapter 7
12
                     Debtor.                  ORDER DENYING MOTION FOR LEAVE
13                                            FROM THE BANKRUPTCY APPEAL PANEL
                                              TO PERMIT THE BANKRUPTCY COURT TO
14                                            CONSIDER DEBTOR’S MOTION FOR RE-
                                              CONSIDERATION [DOC 157] ON AUGUST
15                                            18, 2022
16                                                      [MOTION: DOCKET NO. 167]
17

18         On August 1, 2022, as Docket No. 167, Jamie Lynn Gallian (“Debtor”) filed a “Motion
19 for Leave from the Bankruptcy Appeal Panel to Permit the Bankruptcy Court to Consider
20 Debtor’s Motion for Re-Consideration [Doc 157] on August 18, 2022” (“Motion”). Debtor did

21 not set the Motion for hearing as required by Rule 9013-1(b)(2) of the Local Bankruptcy Rules

22 (“LBR”), nor does the Motion provide that it is noticed pursuant to LBR 9013-1(o).

23         On August 9, 2022, as Docket No. 182, Houser Bros. Co. dba Rancho Del Rey Mobile
24 Home Estates (“Houser Bros.”) filed an “Opposition and Request for Hearing on Debtor’s

25 Motion for Leave from the Bankruptcy Appeal Panel to Permit the Bankruptcy Court to

26 Consider Debtor’s Motion for Reconsideration” (“Opposition”). Houser Bros. provided proof of
27 service of the Opposition on Debtor on that same date. Docket No. 182.

28


                                                    1
Case 8:21-bk-11710-ES            Doc 206 Filed 08/30/22 Entered 08/30/22 13:30:52              Desc
                                  Main Document     Page 2 of 2



 1            More than 14 days have passed since the filing and service of the Opposition, and
 2 Debtor has not set the Motion for hearing.

 3            IT IS ORDERED that:
 4            1.       Pursuant to LBR 9013-1(o)(4), the Motion is denied without prejudice.
 5

 6                                                  ###
 7

 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23     Date: August 30, 2022

24

25

26
27   4887-9822-9808, v. 1

28


                                                         2
